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                                                                              2019 Aug-02 AM 07:48
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


SUMMIT AUTO SALES, INC.,             ]
   Plaintiff,                        ]
                                     ]
VS.                                  ]   CIVIL ACTION NO.
                                     ]    2:15-CV-736 KOB
DRACO, INC. d/b/a YANKEE             ]
FORD SALES,                          ]
    Defendant.                       ]

                                   ORDER

      This cause comes before the court upon the "Joint Stipulation of Dismissal."

(Doc. 99). Upon consideration thereof, the court ORDERS that this case be, and

the same hereby is, DISMISSED, in its entirety, WITH PREJUDICE, costs taxed

as paid.

      DONE and ORDERED this 2nd day of August, 2019.


                                   _________________________________
                                   KARON OWEN BOWDRE
                                   CHIEF UNITED STATES DISTRICT JUDGE
